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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,                            Case No. 15-cr-20597

v.                                                          Honorable Thomas L. Ludington

D-1 DANIEL JASON HARRINGTON,

                      Defendant.

_______________________________________/

                  ORDER STRIKING IMPROPERLY FILED MOTION

       On July 12, 2016, Defendant Daniel Harrington personally filed a motion titled “Motion

for Ineffective Assistance of Counsel.” ECF No. 82. He alleges that his court-appointed attorney

has been ineffective in representing him and seeks to have his attorney withdrawn from

representing him. On July 25, 2016, Harrington personally filed another motion. This motion is

titled “Motion to Remove Multiplicious and Duplicitous Charges.” ECF No. 83. Harrington’s

second motion will be stricken.

       “It is well settled that there is no constitutional right to hybrid representation.” United

States v. Lowdermilk, 425 F. App'x 500, 504 (6th Cir. 2011) (quoting United States v. Cromer,

389 F.3d 662, 681 n. 12 (6th Cir.2004)) (internal quotation marks omitted). Absent any proof

that Mr. Karfonta, Harrington’s counsel in this matter, is not able and competent to represent

him, pro se appearances will not be entertained. See Lowdermilk, 425 F. App’x at 504 (finding

no abuse of discretion in denying hybrid representation where defendant’s lawyer was

“competent and capable.”). Harrington alleges in his motion for Mr. Karfonta to withdraw that

Mr. Karfonta is not competent to represent him. But that fact has not yet been conclusively
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determined, nor has argument on that fact been entertained yet. Thus, Harrington is still

represented by counsel.

       Generally, litigants must choose between proceeding pro se and proceeding with counsel.

United States v. Mosely, 810 F.2d 93, 97 (6th Cir. 1987) (quoting United States v. Conder, 423

F.2d 904, 908 (6th Cir. 1970). The choice of one means of representation precludes reliance on

the other. Id. Permitting deviation from this rule “is a matter committed to the sound discretion

of the trial court.” Id. Harrington has presented no proof that his defense will be compromised if

he is not allowed to proceed pro se at this juncture. He also has not yet demonstrated that his

counsel is deficient in representing him (and he may be unable to so demonstrate). His second

motion will be stricken.

       It is further ORDERED that Defendant Daniel Harrington’s motion to remove charges,

ECF No. 83, is STRICKEN.

Dated: July 29, 2016                                                 s/Thomas L. Ludington
                                                                     THOMAS L. LUDINGTON
                                                                     United States District Judge

                                                    PROOF OF SERVICE

                           The undersigned certifies that a copy of the foregoing order was served
                           upon each attorney or party of record herein by electronic means or first
                           class U.S. mail on July 29, 2016.

                                                             s/Michael A. Sian
                                                             MICHAEL A. SIAN, Case Manager




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